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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:18-CR-0178-KJM-2
12                                Plaintiff,            ORDER DISMISSING INDICTMENT AS TO
                                                        DEFENDANT DEISY KARINA MALDONADO
13                         v.
14   DEISY KARINA MALDONADO,
15                               Defendant.
16

17                                                   ORDER
18          The United States has moved to dismiss the indictment as to defendant Deisy Karina Maldonado,
19 filed September 6, 2018. The Court, having reviewed the motion, finds that the motion is made in good

20 faith. See United States v. Wallace, 848 F.2d 1464, 1468 (9th Cir. 1988); see also Fed. R. Crim. P. 48(a).

21 Accordingly, the Court orders that the indictment be dismissed without prejudice as to defendant Deisy

22 Karina Maldonado.

23          SO ORDERED.
24 Dated: January 31, 2020

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      (PROPOSED) ORDER DISMISSING INDICTMENT AS TO      1
      DEFENDANT DEISY KARINA MALDONADO
